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                                                                  CLERTS OFFICE U.S.DIST.COURT
                                                                        AT ROANOKE,VA
                                                                               FILED

                                                                          JA8 2? 2218
                       UNITED STATES DISTW CT COURT
                       W ESTERN DISTRICT O F VIRG G IA                  JULI C.D DLEX GLERK
                                                                    BY:       -$
                             CharlottesvilleD ivision                      DEPU C      K



 BrothersFranchising & D evelopm ent,LLC,           CivilN o.3:18-cv-00039

                    Plaintiff,
                                                        O R D ER FO R
                                                         D ISM ISSA L
 Brother'sBar& GrillLLC,

                    Defendant.




        BasedupontheStipulationofDismissalfiledbythepartiesonJanuary2,2019(Dkt.
No.21),
        IT IS HEREBY O RDERED that this action is DISM ISSED W ITH O UT

PREJUDICE,and each party willbearitsown costsand attorneys'fees.


D
    ated:January N % ,2019
                                     Glen E.Conrad
                                     SeniorUnited StatesDistrictJudge




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